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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

                                    :
MARK A. PANOWICZ
                                    :

     v.                             :   Civil Action No. DKC 11-2417

                                    :
SHARON L. HANCOCK
                                    :

                          MEMORANDUM OPINION

     Plaintiff Mark A. Panowicz has filed yet another motion for

reconsideration.     (ECF No. 122).     In this one, Plaintiff seeks

reconsideration of the court’s April 28, 2023, memorandum and order

denying his four motions for relief under Federal Rule of Civil

Procedure 60.      (ECF Nos. 120, 121).       The court now rules, no

hearing being deemed necessary.      Local Rule 105.6.

     Plaintiff styles his motion as a motion for reconsideration

under Federal Rule of Civil Procedure 59(e).        However, Rule 59(e)

governs motions “to alter or amend a judgment,” and a denial of a

Rule 60 motion is not a judgment.       This court’s local rules allow

for the filing of motions for reconsideration of other orders

within fourteen days of the entry of the order.       Local Rule 105.10.

Plaintiff’s motion was filed beyond that deadline on May 26, 2023.

     In any event, Plaintiff’s motion does not contain any valid

grounds for reconsideration.       A motion for reconsideration “may

not be used merely to reiterate arguments previously rejected by
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the court,” Innes v. Bd. of Regents of the Univ. Sys. of Md., 121

F.Supp.3d 504, 507 (D.Md. 2015), nor may it be used “to advance

new arguments not previously articulated with clarity after those

that were made have been rejected,” Carrero v. Farrelly, No. 16-

cv-3939-JKB,    2018    WL    1761957,       at   *2   (D.Md.   Apr.    12,   2018).

Plaintiff’s    motion        merely   rehashes         and   reframes    arguments

previously rejected in an effort to persuade the court to change

its mind.     The motion identifies no clear errors in the court’s

prior ruling or new evidence that would warrant reconsideration.

Plaintiff’s motion will be denied.

     A separate order will follow.



                                                        /s/
                                              DEBORAH K. CHASANOW
                                              United States District Judge




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